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UNITED STATES DISTRICT COURT
BASTERN OISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

 

 

 

CHARLES INGRAM, Case No. 2315~ev-11074

Petitioner, : Hon David M. Lawson
Ve | Mag. David R. Grand
JOSEPH BARRETT, (| LL E

Respondent. DEC -5 2017

CLERK
Bice Or

Asst. Gen, Bruce H. Edvards Charles Ingran#825646
Criminal Appellate Division Cooper Street Corr. Facilicy
P.O.Box 30417 3100 Cooper St.
Lansing, Michigan 49909 Jackson. Michigan 49201

NOW COMES, Charles Iagran, herein efter known as cthe:Petitioner, moves
this Honorable Court pursuant to, 18 0.3.C. §3143[b], and in further support
state:

1. Again, per court rule, Petitioner aust file this motion before the
Federal District Court. See e.g., U.S. v. Hochevar, 214 F.3d 342,342 [2nd
Cir. 2000)[per curiam].

4. Said court must rule on the instant Motion promptly. Seese.g., U.S.
v. Fisher, 33 7.34 481, 487 [10th Cir.1995]; U.S. v Hart, 779 Fzd, 375,576-
577(10th cir. 1985] indeed it is che duty of this Court pursuant to § 1345[c¢]
and Fed. R. App. P. 9{b].

3. Please note that the instant pending appeal has great aerit applicable
to each aad evary issue eo raised, and Petitioner is more than likely to
prevail thereon."

4. Please note: prior to trial in thie case, Petitioner remained out
on bead for 34 years, absent a0 much as an attempt to abacond, kept all court

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all court appearances absent delay.

5. Petitioner does not pose a flight risk neither do he pose a threat
to the community."

6, Not attempting to relitigate this matter via said motion, but, theres
evidence which shows that the alleged victim subsequent to this case, falsified
complaints applicable to rape and pregnancy...same of which the prosecution
knew of but intentionally failed to apprised Petitioner or the overall
Defense."

Additionally, she immediately ltold her Father's Girlfriend not to apprise
her father or he may become mad at Petitioner...once this Court thoroughly
read the record it will not find her actions to be that of a rape victim."

Your honors, Petitioner has admitted to having had sexual intercourse
with the alleged victim, only it was with mutual consent.

7. Furthermore, contrary to what opposing counsel argues, trial Judge
instruction to the jury was tantamount to directing a verdict of guilt even
in the absent of such. Having told the jury even if the jury did not agree
unanimously regarding Petitioner's guilt applicable to all charges or each
and every element, they could still return a verdict of guilt. See: In re;
Winship. Counsel argument hererin: The only remedy relating to ineffective
assistance of counsel of direct appeal is to reinstate one's appeal of right,
is simply not true. This Court can also issue the writ based thereon as
substantive relief."

So overall, Petitioner herein stands a good chance of prevailing on the

merits of this case,

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SUMMARY AND RELIEF REQUESTED:
WHERFEORE, based upon all of what is articulated herein, Petitioner prays
that this Court both sseccis,|

and Grant the Instant Motion/Application

Ordering Petitioner released per bond forthwith."

Respectfully Submitted,

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